UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  GEORGE SANTOS,                                             Civil Action No.:

                                 Plaintiff,

         -v-                                                 COMPLAINT

  JAMES C. KIMMEL a/k/a
  JIMMY KIMMEL,
  AMERICAN BROADCASTING
  COMPANIES, INC., and
  THE WALT DISNEY COMPANY,

                                 Defendants.

       Plaintiff George Santos (“Santos” or “Plaintiff”), by and through his attorneys, hereby

files this complaint against Defendants James C. Kimmel (“Kimmel”), American Broadcasting

Companies, Inc. (“ABC”), and Walt Disney Company (“Disney”) for copyright infringement,

fraudulent inducement, breach of contract, and unjust enrichment, as follows:

                                       INTRODUCTION

       1.      At the heart of this dispute lies the deliberate deception and wrongful

appropriation of the Plaintiff’s digital content by the Defendants, orchestrated through the

platform Cameo.com, where celebrities and public figures are meant to connect with their fans

through personalized video messages. Defendants openly admitted to deceiving the Plaintiff

under the guise of fandom, soliciting personalized videos only to then broadcast these on

national television and across social media channels for commercial gain—actions that starkly

violate the original agreement and constitute clear copyright infringement.

       2.      Defendants’ conduct also constituted fraud. Defendant Kimmel misrepresented

himself and his motives to induce Plaintiff to create personalized videos for the sole purpose of




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capitalizing on and ridiculing Plaintiff’s gregarious personality. Kimmel not only boasted about

intentionally deceiving Plaintiff, but played on the comedic irony of possibly getting sued by

Plaintiff for fraud, claiming that it would be a “dream come true.” Kimmel’s invitation of the

instant lawsuit highlights the Defendants’ brazen disregard for the fact that their “prank” violated

the law.

       3.      While Plaintiff’s recent legal issues have become a popular topic of conversation,

Defendants’ actions betray a sense of entitlement to Plaintiff’s persona and creative work, as if

Plaintiff’s recent legal battles somehow negate his rights under the law. This case underscores

the principle that legal rights remain intact regardless of individual circumstances or public

perception.

       4.      Through this action, Plaintiff seeks to address and rectify the unauthorized use of

his copyrighted material, the deceitful tactics employed by the Defendants in obtaining said

material, and the subsequent commercial exploitation of his persona and work.

                                            PARTIES

       5.      Plaintiff George Santos is an individual residing in New York. He is a public

figure known for his career in politics and finance and the lawful copyright owner of the Cameo

videos referenced herein.

       6.      Defendant Kimmel is an individual residing in California. He is the executive

producer and host of ABC’s late-night talk show Jimmy Kimmel Live!. Kimmel also transacts

business in New York.




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       7.       Defendant ABC is a major American commercial broadcast television network

with its principal place of business in New York, New York. It is the owns and produces Jimmy

Kimmel Live!.

       8.       Defendant Disney is the parent company of ABC, with its principal place of

business in Burbank, California. Disney also transacts business in New York.

                                 JURISDICTION AND VENUE

       9.       This is an action arising under the Copyright Act, 17 U.S.C. § 501.

       10.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331 and 1338 because it involves federal questions arising under the Copyright Act, as

amended, 17 U.S.C. §§ 101 et seq.

       11.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       12.      Venue is proper under 28 U.S.C. §§ 1400(a) and 1391(c).

                                  FACTUAL BACKGROUND

       13.      Plaintiff George Santos recently created a profile on www.cameo.com (“Cameo”),

a website that allows fans (“Users”) to request personalized video messages from public figures

and celebrities (“Talent”).

       14.      By creating profiles on Cameo, Talent and Users agree to be bound by Cameo’s

Terms of Service.

       15.      Under Cameo’s Terms of Service, Users may request personalized videos from

Talent and obtain a license to use those videos. Users send Talent a description of what the User




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would like the Talent to say in the personalized video and Talent may accept or reject the User’s

request.

       16.     Cameo offers two types of licenses, a personal use license, or a business license.

The price for each type of license is set by the Talent at their sole discretion. Neither of these

licenses permits the Users to broadcast the videos on national television. Such a license falls

outside of the standard agreements provided by Cameo and would need to be independently

negotiated between the User and the Talent.

       17.     Cameo also allows users to expedite the creation of their personalized videos by

paying a rush fee.

       18.     All Cameo videos created by Talent for Users are wholly owned by the Talent.

This is expressly provided in Cameo’s Terms of Service published on their website and is a term

to which all Users agree in signing up on the Cameo Website.

       19.     Through Cameo, Santos received requests from individuals and businesses

seeking personalized video messages.

       20.     Unbeknownst to Santos, Kimmel submitted at least fourteen (14) requests for

Cameo videos from Santos by providing phony names and narratives (“Fake Requests”). The

Fake Requests were sent from fake User profiles created by Kimmel as part of the fraud. By

creating the fake User profiles and submitting the Fake Requests, Kimmel falsely represented

himself as multiple different Users seeking Santos’ personalized Cameo videos for personal use.

       21.     Relying on Kimmel’s Fake Requests, Santos created approximately fourteen (14)

personalized Cameo videos (“Cameo Videos”).




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        22.     All the personalized Cameo Videos created by Santos were subject to the personal

use license restrictions and were provided to the Defendants subject to the personal use license

restrictions.

        23.     Kimmel chose the personal use licenses for all the Cameo Videos with the

intention to violate such licenses by broadcasting and commercially exploiting the Cameo

Videos on national television.

        24.     Defendants used Santos’ Cameo Videos #1-5 for commercial purposes in

violation of the personal use licenses and Santos’ copyrights by broadcasting them on the Jimmy

Kimmel Live! television show and by publishing those segments, containing identical copies of

Cameo Videos #1-5, on Defendant ABC’s social media platforms including YouTube (19.2

million subscribers), Instagram (5 million followers), TikTok (1.3 million followers), and X (2

million followers).

        25.     Starting on December 7, 2023, Defendants began publishing the Cameo Videos

on Jimmy Kimmel Live!, explaining that Plaintiff has “a new gig making videos on Cameo for

$400 a pop” and that Kimmel “couldn’t resist so [Kimmel] sent George through Cameo a

number of different [...] ridiculous requests.” Kimmel stated, “I didn’t say they were from me I

just wrote them and sent them to find out ‘Will Santos Say It’.” Defendant Kimmel then

published identical copies of Cameo Videos #1-3. Intending to continue capitalizing on Santos’

Cameo Videos, Kimmel then teased, “I ordered about a dozen more of these, so um, join us all

next week for the rest of them!”




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       26.     Defendants posted the December 7, 2023, episode of Jimmy Kimmel Live! on

YouTube with the title: “Jimmy Kimmel Pranks George Santos on Cameo, Trump Wants

‘Loyalists’ Only & the Chanucorn Returns!”

       27.     On December 11, 2023, Defendants again ran the segment on their nightly

episode of Jimmy Kimmel Live! and published identical copies of Cameo Videos #4-5. During

the episode Kimmel stated on television the following:

               KIMMEL: Yeah so now this Cameo thing, according to George, is really
               paying off. He claims he’s made more money in seven days than he did in
               Congress for a year. And part of that money came from me. I sent him a
               bunch of crazy video requests because I wanted to see what he would read
               and what he wouldn’t read, and I showed some of them on the air on
               Thursday, um, and now he’s demanding [...] to be paid a commercial rate.
               Could you imagine if I get sued by George Santos for a fraud? I mean how
               good would that be? It would be like a dream come true. So since I started
               buying his videos his rates went way up to $500 a piece. He should be
               thanking me for buying these videos. But I have a big stockpile you want to
               see one? Again George had no idea these requests were from me, I just
               wrote them and sent them in. So “Will Santos say it?” Here we go […]
               [CAMEOS #4 and #5 were then published]

       28.     Defendants published the December 11, 2023 episode of Jimmy Kimmel Live! on

YouTube with the title: “George Santos Demands $20,000 from Jimmy Kimmel, Trump Bails on

Court & Clooney Christmas Surprise.”

       29.     The corporate Defendants, through, and in concert with, Defendant Kimmel,

directed their actions at Plaintiff, who was located in New York.

       30.     Upon information and belief, the December 7, 2023 episode published by

Defendants, which contained identical copies of Cameo Videos #1-3, received 1.4 million views

on YouTube in just three days and a TikTok video received over 1.6 million views in four days.




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          31.      On December 12, 2023, Plaintiff’s counsel sent Defendants a Cease and Desist

Letter and demanded that they remove the content posted online.

          32.      Defendants claimed that they possessed a total of fourteen (14) of Santos’ Cameo

Videos and sought to continue running the segment and publishing the remaining videos.

Defendants ultimately ceased publishing any additional Cameos Videos as a result of the Cease

and Desist, but refused to remove the content they had previously published on all social media

platforms and on the Defendants’ website (https://abc.com/shows/jimmy-kimmel-live).

                              COUNT I: COPYRIGHT INFRINGMENT
                                     (17 U.S.C. § 101 et seq.)

          33.      Plaintiff repeats and realleges the allegations set forth above as if fully set forth

herein.

          34.      Santos created Cameo Videos #1-5, as follows:

                a. Cameo Video #1: Created by Santos on December 6, 2023, at 1:50 p.m.

                b. Cameo Video #2: Created by Santos on December 6, 2023, at 2:06 p.m.

                c. Cameo Video #3: Created by Santos on December 7, 2023, at 9:29 a.m.

                d. Cameo Video #4: Created by Santos on December 7, 2023, at 9:36 a.m.

                e. Cameo Video #5: Created by Santos on December 7, 2023, at 9:34 a.m.

          35.      Plaintiff is the author and sole owner of the original copyrighted five (5) Cameo

Videos that the Defendants unlawfully infringed (“Works”).

          36.      The Works are unique, original audiovisual creations, fixed in the medium of a

motion picture, that feature Santos speaking directly to the camera. The Works were created by




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Santos using his own effort, creativity, and unique personality traits, to generate an inspiring

message.

       37.      The Works are wholly original work that is copyrightable subject matter under the

laws of the United States.

       38.      Plaintiff registered the Works with the Register of Copyrights pursuant to 17

U.S.C. § 411(a), each bearing the following respective Copyright Registration Numbers:

             a. Cameo Video #1: (“Santos 1”) PA 2-449-879 (Effective January 16, 2024)

             b. Cameo Video #2: (“Santos 2”) PA 2-449-882 (Effective January 16, 2024)

             c. Cameo Video #3: (“Santos 3”) PA 2-451-684 (Effective January 25, 2024)

             d. Cameo Video #4: (“Santos 4”) PA 2-451-685 (Effective January 25, 2024)

             e. Cameo Video #5: (“Santos 5”) PA 2-451-683 (Effective January 25, 2024)

       39.      Plaintiff is currently and at all relevant times has been the sole proprietor of all

rights, title, and interest in and to the copyrights of the Works.

       40.      Plaintiff has the exclusive rights under 17 U.S.C. § 106 to reproduce, distribute,

publicly display, and create derivative works from the Works.

       41.      Without Plaintiff’s permission, Defendants reproduced, distributed, and publicly

displayed the Works, including on the television show Jimmy Kimmel Live! and on various

social media platforms.

       42.      At no time did Plaintiff authorize the Defendants to reproduce, distribute, prepare

derivative works, or publicly display the Works or any portion thereof.

       43.      Defendants’ acts violate Plaintiff’s exclusive rights under the Copyright Act.




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         44.    Defendants’ infringement was and continues to be willful and intentional, as

Defendant Kimmel himself admitted it was a “prank”.

         45.    Defendants are willfully infringing Plaintiff’s copyright in the Works by

reproducing, displaying, distributing, and/or creating derivative works of the Works without

permission in violation of the Copyright Act, 17 U.S.C. § 106.

         46.    The infringement was, and continues to be, willful, executed with full knowledge

of Plaintiff’s copyright, and in conscious disregard of Plaintiff’s exclusive rights in its protected

Works.

         47.    Defendants profited from their unauthorized use of the Works without

compensating Plaintiff.

         48.    By reason of the infringement, Plaintiff has sustained and will continue to sustain

substantial injury, loss, and damage to its ownership rights in the copyrighted Works.

         49.    Because Plaintiff is without an adequate remedy at law, Plaintiff is entitled to an

injunction, in accordance with 17 U.S.C. § 502, restraining Defendants, its officers, directors,

agents, employees, representatives, assigns, and all persons acting in concert with the Defendants

from engaging in further acts of copyright infringement.

         50.    Plaintiff is further entitled to recover from Defendants the gains, profits, and

advantages Defendants have obtained as a result of copyright infringement.

         51.    Plaintiff is also entitled to recover statutory damages in accordance with 17

U.S.C. § 504.

         52.    Plaintiff is also entitled to recover costs and attorneys’ fees in accordance with 17

U.S.C. § 505.


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          53.      Plaintiff is informed and believes, and on that basis alleges, that unless enjoined

by this Court, Defendants will continue its course of conduct and will continue to wrongfully

use, infringe upon, sell, and otherwise profit from Plaintiff’s copyrighted Works.

                             COUNT II: FRAUDULENT INDUCEMENT

          54.      Plaintiff repeats and realleges the allegations set forth above as if fully set forth

herein.

          55.      By creating fake profiles and falsely representing themselves as fans seeking

personalized videos for personal use, Defendants knowingly made false representations of

material fact to Plaintiff.

          56.      Specifically, Defendant Kimmel made fourteen (14) Fake Requests to Santos for

personalized videos under the personal use license, including the following:

                a. On or about December 6, 2023, at approximately 4:46 p.m. Kimmel,
                   misrepresenting himself as “Chris Cates” made the following fraudulent
                   representation to Santos: “George please congratulate my friend Gary
                   Fortuna for winning the Clearwater Florida Beef Eating Contest. He ate
                   almost 6 pounds of loose ground beef in under 30 minutes – which was a
                   new record! He’s not feeling great right now but the doctor thinks he will
                   be released from the hospital soon. Please wish him a speedy recovery!”
                   (“Fake Request 1”)

                b. On or about December 6, 2023 at approximately 4:55 p.m. Kimmel,
                   misrepresenting himself as “Jane” made the following fraudulent
                   representation to Santos: “George please congratulate my mom Brenda on
                   the successful cloning of her beloved schnauzer Adolf. She and Doctor
                   Haunschnaffer went through a lot of dogs in the trial runs but they finally
                   got it to stick. Tell her to give Adolf a big belly rub for me!” (“Fake Request
                   2”)

                c. On or about December 7, 2023, at approximately 12:18 p.m. Kimmel,
                   misrepresenting himself as “Ron” made the following fraudulent
                   representation to Santos: “My name is Ron. Please tell my wife to call me
                   George. Not George my name is Ron. You are George. Just tell her to call
                   me George. But again Ron. I haven’t seen Swoosie or the kids since my



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                 disco birthday and it’s not fair. She says I burned down the shed shooting
                 off fireworks but I was trying to scare a bear away. It isn’t fair. I love my
                 Swoosie and I just want our family together on Christmas or if not that
                 Valentimes Day or Flag. Watch out for bears.” (“Fake Request 3”)

              d. On or about December 7, 2023, at approximately 12:32 p.m. Kimmel,
                 misrepresenting himself as “Uncle Joe” made the following fraudulent
                 representation to Santos: “George can you please congratulate my legally
                 blind niece Julia on passing her driving test. They said she couldn’t do it –
                 even shouldn’t, but she’s taught herself to be able to drive safely using her
                 other sense. She’s not a quitter! That said, the day after she got her license,
                 she got in a really bad car accident so if you could also wish her a speedy
                 recovery that would be amazing. She’s in a bodycast and is a very bummed
                 out - but with help from Jesus and President Trump, soon she will be back
                 on the road!” (“Fake Request 4”)

              e. On or about December 7, 2023, at approximately 12:26 p.m. Kimmel,
                 misrepresenting himself as “Christian” made the following fraudulent
                 representation to Santos:: “Hey George. My friend Heath just came out as a
                 Furry and I’d love for you to tell him that his friends and family all accept
                 him. His “fursona” is a platypus mixed with a beaver. He calls it a Beav-a-
                 pus. Can you say we all love you Beav-a-pus? He also just got the go ahead
                 from Arby’s corporate to go to work in the outfit so we’re all so happy for
                 him to be himself at work and at home. Could you also do a loud “Yiff yiff
                 yiff!”? That’s the sound Beav-a-pus makes as Beav-a-pus. Thank you so
                 much.” (“Fake Request 5”)

        57.      Defendants made such false representations to induce Plaintiff to provide

personalized video content under the limited personal use license.

        58.      Given Cameo’s terms and conditions, Plaintiff reasonably relied on Defendants’

misrepresentations and provided the requested video content under the personal use license

restrictions.

        59.      As a direct and proximate result of Defendants’ fraudulent inducement, Plaintiff

has suffered monetary damages.




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                            COUNT III: BREACH OF CONTRACT

          60.   Plaintiff repeats and realleges the allegations set forth above as if fully set forth

herein.

          61.   Plaintiff entered into a valid contract with Defendants by providing the requested

video content under Cameo’s standard personal use license agreement.

          62.   The license agreement limited Defendants’ use of the videos to non-commercial,

personal purposes.

          63.   Defendants breached the license agreement by using Plaintiff’s videos for

commercial purposes on television, social media, and other platforms.

          64.   As a direct result of Defendants’ breach, Plaintiff has suffered monetary damages.

                             COUNT IV: UNJUST ENRICHMENT

          65.   Plaintiff repeats and realleges the allegations set forth above as if fully set forth

herein.

          66.   By using the Cameo Videos for commercial purposes without permission or

compensation, Defendants have unjustly retained profits and benefits at Plaintiff’s expense.

          67.   Equity and good conscience require Defendants to compensate Plaintiff for the

reasonable value of the commercial use of the Cameo Videos and disgorgement of Defendants’

ill-gotten gains.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor

and against Defendant as follows:

       A.      For a preliminary and permanent injunction enjoining and restraining Defendants

       and all persons acting in concert with Defendants from reproducing, distributing, creating

       derivative works, displaying, advertising, promoting, offering for sale and/or selling, or

       performing any materials that are substantially similar to the copyrighted Works, and to

       destroy and certify to the Court such destruction or deliver to the Court for destruction or

       other reasonable disposition all such materials and means for producing same in

       Defendants’ possession or control;

       B.      For a preliminary and permanent injunction enjoining and restraining Defendants

       and their agents, servants, employees, attorneys, and all persons acting in concert and

       participation with it from infringing upon Plaintiff’s copyrights;

       C.      For actual damages, punitive damages, and disgorgement of Defendants’ profits

       to be determined at trial, plus interest;

       D.      For statutory damages of $150,000 per infringement pursuant to 17 U.S.C. § 504,

       at Plaintiff’s election;

       E.      For an award of reasonable attorney’s fees and costs under 17 U.S.C. § 505; and

       F.      For such other and further relief as the Court deems just and proper.




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                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury on all claims so triable.

Dated: February 16, 2024
       New York, New York

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